           JUAN TREVINO et al V. GOLDEN STATE FC LLC et al
UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA
         CIVIL DOCKET FOR LEAD CASE # 1:18-cv-00120-DAD-BAM




                        EXHIBIT A
     TO FIRST AMENDED CONSOLIDATED COMPLAINT
                 CO.     FILE       DEPT.     CLOCK      VCHR. NO.
                        201041      120003    629        0000177211    1
                 VUS
                                                                                          Earnings Statement
                                                               3625-0014
                 GOLDEN STATE FC LLC                                                      Period Beginning:        04/02/2017
                 P.O. BOX 80726                                                           Period Ending:           04/15/2017
                 SEATTLE, WA 98108                                                        Pay Date:                04/21/2017



                 Taxable Marital Status:      Single                                          JUAN F TREVINO
                 Exemptions/Allowances:                                                       301 E WYANDOTTE ST
                   Federal:           52
                   CA:                2
                                                                                              STOCKTON CA 95204

                 Social Security Number:      XXX-XX-1227
                          rate        hours            this period         year to date
Regular            13 5000           70 00                945 00              2 565 00
                                                                                          Net Check                              0 00
Overtime           20 2500           11 53                233 48                401 96
Double Time        27 0000            2 60                 70 20                 70 20
Personal Time      13 5000           10 00                135 00                135 00    * Excluded from federal taxable wages
Shft Pay D/T@       1 0000            2 60                  2 60                  2 60
                                                                                          Other Benefits and
Shft Pay O/T@       0 7502           11 53                  8 65                 14 89
                                                                                                                         this period       total to date
Shift Pay @         0 5000           80 00                 40 00                100 00
                                                                                          Groupterm Life                      1 20                       3 60
Variable Comp                                              68 59                 68 59
                Gross Pay                              1 503 52               3 358 24
                                                                                          YOUR COMPANY PHONE NUMBER IS 888-892-7180

                Statutory
                                                                                          BASIS OF PAY: HOURLY
                Federal Income Tax                        147 50                283 01
                Social Security Tax                        87 77                197 39
                Medicare Tax                               20 52                 46 16
                CA State Income Tax                        28 63                 38 64                 VARIABLE COMP CALC
                                                                                                       PERIOD: MARCH 2017
                CA SUI/SDI Tax                             12 73                 28 62    EARNINGS              HOURS           RATE        AMOUNT
                                                                                          __________________________________________________________
                                                                                          REG                  110 00             0 5600            61 60
                Pre Tax Dental                             18 92*                37 84    O/T                    8 32             0 8400             6 99
                Pre Tax Medical                            63 69*               127 38    D/T                    0 00             0 0000             0 00
                                                                                          TOTAL                                                      68.59
                Pre Tax Vision                              1 85*                 3 70
                Sec 125 Health                              4 62*                 9 24
                Slifcd                                      0 30                  0 60
                Slifee                                      3 32                  6 64
                Supp Ad/D                                   0 28                  0 56

                Net Pay                                1 113 39
                Checking Dep                           1 113 39

                                                                                                                                             2000 A DP, LLC




                 GOLDEN STATE FC LLC                                                      Advice number:                 00000177211
                 P O BOX 80726                                                            Pay date:                      04/21/2017
                 SEATTLE WA 98108



                 Deposited       to the account of                                        account number       transit     ABA                    amount
                 JUAN F TREVINO                                                           xxxxxx4242           xxxx xxxx                    $1 113 39




                                                                                                       NON-NEGOTIABLE
